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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

INTEGRA LIFESCIENCES CORP.,                )
INTEGRA LIFESCIENCES SALES LLC,            )
CONFLUENT SURGICAL, INC., and              )
INCEPT LLC,                                )
                                           )    C.A. No. 15-819 (LPS) (CJB)
                      Plaintiffs,          )
                                           )    PUBLIC VERSION
      v.                                   )
                                           )
HYPERBRANCH MEDICAL                        )
TECHNOLOGY, INC.,                          )
                                           )
                      Defendant.           )

     LETTER TO THE HONORABLE CHRISTOPHER J. BURKE REGARDING
     HYPERBRANCH MEDICAL TECHNOLOGY, INC.’S MOTION TO STRIKE
   PLAINTIFFS’ NEW IDENTIFICATION OF EVIDENCE REGARDING PRIORITY
               DATES AND NEW BIOCOMPATIBILITY THEORY

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date evidence and “biocompatibility” theory. There is no dispute that neither was disclosed by
Plaintiffs during fact discovery. This Court has previously struck such untimely assertions of
new theories as prejudicial. See Walker Digital, LLC v. Google Inc., Civ. No. 11-309-SLR, 2013
WL 2949109, at *2 (D. Del. June 14, 2013). Plaintiffs’ disclosure of the new priority evidence
and “biocompatibility” theory in rebuttal expert reports denied HyperBranch sufficient time to
fully rebut them. Had Plaintiffs raised these theories during fact discovery, HyperBranch would
have asked the inventors of the Asserted Patents and Plaintiffs’ other technical witnesses about
the specification passages Plaintiffs now rely on for priority. HyperBranch could also have
questioned these witnesses and sought third party discovery regarding the “biocompatibility” of
cross-linked hydrogels disclosed in the prior art and produced a factual record of the same.
Additionally, this late disclosure prevents HyperBranch from showing the inconsistency of
Plaintiffs’ positions and how the newly alleged “biocompatibility” theory necessarily results in
non-infringement and renders the Asserted Claims invalid under § 112.
        Factors 2 and 3: The prejudice to HyperBranch cannot be cured without
substantially disrupting trial. Absent significant additional fact and expert discovery on the
biocompatibility of hydrogels and the evidence cited for the priority of the ’3,705 and ’5,705
patents, HyperBranch will be unable to offer a fully informed rebuttal of Plaintiffs’ new theories.
To cure this prejudice, the Court would need to reopen fact discovery, stay all deadlines, and
allow HyperBranch to submit supplemental expert reports on invalidity and non-infringement.
This would necessarily delay pre-trial proceedings, undo significant efforts undertaken to keep
the scheduled trial date of April 16, 2018, and greatly increase HyperBranch’s litigation costs.
         Factor 4: Plaintiffs’ representations evince willful disregard of discovery rules.
Plaintiffs’ utter refusal to provide their validity theories during discovery and their refusal to
identify the evidence they rely on for priority can only be described as purposeful. HyperBranch
served updated and extensive Invalidity Contentions without any response from Plaintiffs. And
even after Plaintiffs were ordered to supplement their responses to Interrogatory Nos. 1 and 2,
they failed to provide supporting evidence. Having refused to provide the requested materials
during discovery, Plaintiffs’ disclosure of the biocompatibility theory and priority date evidence
in their rebuttal expert reports is clearly willful and intended to prejudice HyperBranch.
        Factor 5: Plaintiffs may still argue that there is no motivation to combine the prior
art and no expectation of success in creating the claimed invention, which are appropriate
arguments for experts and are currently argued in Plaintiffs’ expert reports. But Plaintiffs
are not entitled to raise new evidence or theories of validity at this late date, after refusing to
provide such evidence and theories during discovery. See, e.g., Becton, Dickinson & Co. v. Tyco
Healthcare Grp., 616 F.3d 1249, 1261 (Fed. Cir. 2010) (recognizing propriety of striking
theories that are “not properly raised during discovery”).
       For these reasons, HyperBranch respectfully requests that the Court (1) strike and
preclude the new evidence of priority date set forth in Dr. Mays’ rebuttal expert report at pages
147-54 and 174-77 and (2) strike and preclude reliance on the analysis of Plaintiffs’
biocompatibility theories throughout Dr. Mays’ rebuttal expert report, in paragraphs 1, 7-11, and
14-21 of Dr. Distefano’s rebuttal expert report, and in paragraphs 4, 10-11, and 19-26 of
Dr. Rivet’s rebuttal expert report.
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                                             Respectfully,

                                             /s/ Thomas C. Grimm
                                             Thomas C. Grimm (#1098)

TCG:ncf
Attachments
cc:   Clerk of Court (by hand delivery; w/attachments)
      All Counsel of Record (by e-mail; w/attachments)
